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USDC SDNY                                GLAVIN PLLC
DOCUMENT                               2585 Broadway #211
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                                         Mr. Servis's bail conditions are modified to permit him to travel
                                         to Charles Town, West Virginia and to Winchester, Virginia, for
  VIA ECF AND UNDER SEAL                 the purpose of visiting his parents. Mr. Servis may not travel to
                                         any other location without approval of the Court. Mr. Servis is
  The Honorable Mary Kay Vyskocil        reminded that he is to have no contact with racehorses while he is
  United States District Judge           traveling.
                                             eling. SO ORDERED.
  Southern District of New York
  500 Pearl Street                                      5/25/2021
  New York, New York 10007


         Re: United States of America v. Jason Servis, 1:20-cr-00160-10-MKV
  Dear Judge Vyskocil:
           My co-counsel, Michael Considine, and I represent Mr. Jason Servis, who is currently on
  release pending the above-referenced matter. Mr. Servis’s release conditions have certain travel
  restrictions. We respectfully seek permission for Mr. Servis to travel to, and remain in, Charles
  Town, West Virginia, to visit to his father                             .
         If approved, Mr. Servis would travel on Sunday, May 23, 2021, to his parents’ home at 9
  Berkeley Ct., Charles Town, West Virginia. Mr. Servis would remain at his parents’ home in
  Charles Town, West Virginia, during which time he plans to visit his father who is currently at
                                  in Winchester, Virginia, before returning to his home in Jupiter,
  Florida, on or before June 6, 2021.
         Mr. Servis’s parents are both in their late eighties. His mother                           .
  Mr. Servis respectfully requests the Court grant him permission to travel to attend to his father
  and mother.
         AUSA Andrew Adams and Pretrial Services Office Dayshawn Bostic consent to this
  request.


                                                        Respectfully submitted,


                                                        _______/s/______________________
                                                        Rita M. Glavin


  Cc:    AUSA Andrew Adams (by email and ECF)
         Pretrial Services Officer Asst, Dayshawn Bostic (by email)
